                Case 3:19-cv-01179-K Document 41 Filed 05/16/19 Page 1 of 6 PageID 199
                                                    ACCO,(ASx),CLOSED,DISCOVERY,TRANSFERRED
                      UNITED STATES DISTRICT COURT
        CENTRAL DISTRICT OF CALIFORNIA (Western Division − Los Angeles)
              CIVIL DOCKET FOR CASE #: 2:18−cv−09491−FMO−AS

Matthew Pliskin v. Robert Goldstein et al                           Date Filed: 11/08/2018
Assigned to: Judge Fernando M. Olguin                               Date Terminated: 05/15/2019
Referred to: Magistrate Judge Alka Sagar                            Jury Demand: None
Demand: $9,999,000                                                  Nature of Suit: 190 Contract: Other
Cause: 28:1332 Diversity−Breach of Fiduciary Duty                   Jurisdiction: Diversity
Plaintiff
Matthew Pliskin                                     represented by Samuel R Maizel
as Trustee of the ICPW Nevada Trust                                Dentons LLP
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               Case 3:19-cv-01179-K Document 41 Filed 05/16/19   Page 2 of 6 PageID 200
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V.
Defendant
Robert Goldstein                             represented by Prashanth Chennakesavan
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                                                            prashanth.chennakesavan@ltlattorneys.com
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Defendant
DRG Strategic, LLC                           represented by Prashanth Chennakesavan
doing business as                                           (See above for address)
Meridian Global                                             LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                           Bernie E Hauder
                                                           (See above for address)
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Joedat H Tuffaha
             Case 3:19-cv-01179-K Document 41 Filed 05/16/19
                                                      (See abovePage   3 of 6 PageID 201
                                                                 for address)
                                                                      ATTORNEY TO BE NOTICED


Date Filed     #    Docket Text

11/08/2018    Ï1    COMPLAINT Receipt No: 0973−22718085 − Fee: $400, filed by Plaintiff Matthew Pliskin.
                    (Attorney Ahmed Jinnah added to party Matthew Pliskin(pty:pla))(Jinnah, Ahmed) (Entered:
                    11/08/2018)

11/08/2018    Ï2    CIVIL COVER SHEET filed by Plaintiff Matthew Pliskin. (Jinnah, Ahmed) (Entered: 11/08/2018)

11/08/2018    Ï3    Request for Clerk to Issue Summons on Complaint (Attorney Civil Case Opening) 1 filed by
                    Plaintiff Matthew Pliskin. (Jinnah, Ahmed) (Entered: 11/08/2018)

11/08/2018    Ï4    NOTICE of Interested Parties filed by Plaintiff Matthew Pliskin, identifying ICPW Nevada Trust.
                    (Jinnah, Ahmed) (Entered: 11/08/2018)

11/09/2018    Ï5    NOTICE OF ASSIGNMENT to District Judge Consuelo B. Marshall and Magistrate Judge Alka
                    Sagar. (jtil) (Entered: 11/09/2018)

11/09/2018    Ï6    21 DAY Summons Issued re Complaint (Attorney Civil Case Opening) 1 as to Defendants DRG
                    Strategic, LLC, Robert Goldstein. (jtil) (Entered: 11/09/2018)

11/13/2018    Ï7    ORDER RETURNING CASE FOR REASSIGNMENT by Judge Consuelo B. Marshall. ORDER
                    case returned to the Clerk for random reassignment pursuant to General Order 16−05. Case
                    randomly reassigned from Judge Consuelo B. Marshall to Judge Fernando M. Olguin for all further
                    proceedings. The case number will now reflect the initials of the transferee Judge 2:18−cv−09491
                    FMO(ASx). (rn) (Entered: 11/13/2018)

11/29/2018    Ï8    TEXT ONLY ENTRY by Chambers of Judge Fernando M. Olguin. This matter has been assigned
                    to District Judge Fernando M. Olguin. The Court refers counsel to the Court's Initial Standing
                    Order found on the Court's Website under Judge Olguin's Procedures and Schedules. Please read
                    this Order carefully.THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY.
                    (vdr) TEXT ONLY ENTRY (Entered: 11/29/2018)

12/04/2018    Ï9    PROOF OF SERVICE Executed by Plaintiff Matthew Pliskin, upon Defendant DRG Strategic,
                    LLC served on 11/26/2018, answer due 12/17/2018; Robert Goldstein served on 11/26/2018,
                    answer due 12/17/2018. in compliance with Federal Rules of Civil Procedure by substituted service
                    at business address and by also mailing a copy.Original Summons NOT returned. Proof of Service
                    of Summons in a Civil Action, Complaint, Civil Cover Sheet, Certification and Notice of Interested
                    Parties, and Order Returning Case for Reassignment (Jinnah, Ahmed) (Entered: 12/04/2018)

12/05/2018   Ï 10   APPLICATION of Non−Resident Attorney Andrew T. Solomon to Appear Pro Hac Vice on behalf
                    of Plaintiff Matthew Pliskin (Pro Hac Vice Fee − $400 Fee Paid, Receipt No. 0973−22846484)
                    filed by Plaintiff Matthew Pliskin. (Attachments: # 1 Proposed Order) (Jinnah, Ahmed) (Entered:
                    12/05/2018)

12/07/2018   Ï 11   ORDER ON APPLICATION OF NON−RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC
                    CASE PRO HAC VICE by Judge Fernando M. Olguin: GRANTING 10 Non−Resident Attorney
                    Andrew T. Solomon APPLICATION to Appear Pro Hac Vice on behalf of Plaintiff, designating
                    Ahmed R. Jinnah as local counsel. (lt) (Entered: 12/10/2018)

01/08/2019   Ï 12   (IN CHAMBERS) ORDER TO SHOW CAUSE by Judge Fernando M. Olguin. Response to Order
                    to Show Cause due by 1/15/2019. (vdr) (Entered: 01/08/2019)

01/14/2019   Ï 13   STIPULATION Extending Time to Answer the complaint as to DRG Strategic, LLC answer now
                    due 1/16/2019; Robert Goldstein answer now due 1/16/2019, re Complaint (Attorney Civil Case
             Case Opening)
                  3:19-cv-01179-K       Document
                           1 filed by Plaintiff       41Pliskin.(Jinnah,
                                                Matthew    Filed 05/16/19    Page
                                                                         Ahmed)      4 of 01/14/2019)
                                                                                (Entered: 6 PageID 202

01/14/2019   Ï 14   RESPONSE filed by Plaintiff Matthew Pliskinto Order to Show Cause 12 Response to (In
                    Chambers) Order to Show Cause Re: Dismissal Re: Lack of Prosecution (Attachments: # 1
                    Declaration of Nathan B. Roberts)(Jinnah, Ahmed) (Entered: 01/14/2019)

01/16/2019   Ï 15   NOTICE OF MOTION AND MOTION to Dismiss for Lack of Jurisdiction filed by Defendants
                    DRG Strategic, LLC, Robert Goldstein. Motion set for hearing on 2/14/2019 at 10:00 AM before
                    Judge Fernando M. Olguin. (Attachments: # 1 Declaration of Robert Goldstein, # 2 Proposed
                    Order) (Attorney Joedat H Tuffaha added to party DRG Strategic, LLC(pty:dft), Attorney Joedat H
                    Tuffaha added to party Robert Goldstein(pty:dft)) (Tuffaha, Joedat) (Entered: 01/16/2019)

01/16/2019   Ï 16   CERTIFICATE of Interested Parties filed by Defendants DRG Strategic, LLC, Robert Goldstein,
                    (Tuffaha, Joedat) (Entered: 01/16/2019)

01/18/2019   Ï 17   TEXT ONLY ENTRY by Chambers of Judge Fernando M. Olguin. The Order to Show Cause 12 is
                    hereby discharged. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (vdr)
                    TEXT ONLY ENTRY (Entered: 01/18/2019)

01/18/2019   Ï 18   ORDER SETTING SCHEDULING CONFERENCE by Judge Fernando M. Olguin. Scheduling
                    Conference set for 2/28/2019 at 10:00 AM before Judge Fernando M. Olguin. (vdr) (Entered:
                    01/18/2019)

01/24/2019   Ï 19   MEMORANDUM in Opposition to NOTICE OF MOTION AND MOTION to Dismiss for Lack of
                    Jurisdiction 15 Plaintiff's Memorandum in Opposition to Defendants' Motion to Dismiss for Lack of
                    Personal Jurisdiction filed by Plaintiff Matthew Pliskin. (Jinnah, Ahmed) (Entered: 01/24/2019)

01/24/2019   Ï 20   DECLARATION of Matthew A. Pliskin in Opposition to NOTICE OF MOTION AND MOTION
                    to Dismiss for Lack of Jurisdiction 15 Declaration of Matthew A. Pliskin In Support of Plaintiff's
                    Memorandum in Opposition to Defendants' Motion to Dismiss for Lack of Personal Jurisdiction
                    filed by Plaintiff Matthew Pliskin. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                    Exhibit D, # 5 Exhibit E, # 6 Exhibit F)(Jinnah, Ahmed) (Entered: 01/24/2019)

01/25/2019   Ï 21   NOTICE OF LODGING filed Notice of Lodging [Proposed] Order on Defendant's Motion to
                    Dismiss Plaintiff's Complaint re MEMORANDUM in Opposition to Motion, 19 (Attachments: # 1
                    Proposed Order)(Jinnah, Ahmed) (Entered: 01/25/2019)

01/28/2019   Ï 22   APPLICATION of Non−Resident Attorney Nathan B. Roberts to Appear Pro Hac Vice on behalf
                    of Plaintiff Matthew Pliskin (Pro Hac Vice Fee − $400 Fee Paid, Receipt No. 0973−23109389)
                    filed by Plaintiff Matthew Pliskin. (Attachments: # 1 Proposed Order) (Jinnah, Ahmed) (Entered:
                    01/28/2019)

01/31/2019   Ï 23   REPLY in Support of Motion NOTICE OF MOTION AND MOTION to Dismiss for Lack of
                    Jurisdiction 15 filed by Defendants DRG Strategic, LLC, Robert Goldstein. (Tuffaha, Joedat)
                    (Entered: 01/31/2019)

01/31/2019   Ï 24   ORDER ON APPLICATION OF NON−RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC
                    CASE PRO HAC VICE by Judge Fernando M. Olguin: GRANTING 22 Non−Resident Attorney
                    Nathan B. Roberts APPLICATION to Appear Pro Hac Vice on behalf of Plaintiff, designating
                    Ahmed R. Jinnah as local counsel. (lt) (Entered: 02/01/2019)

02/05/2019   Ï 25   APPLICATION of Non−Resident Attorney Bernie E. Hauder to Appear Pro Hac Vice on behalf of
                    Defendants DRG Strategic, LLC, Robert Goldstein (Pro Hac Vice Fee − $400.00 Previously Paid
                    on 2/5/2019, Receipt No. 26F7Q12A) filed by Defendants DRG Strategic, LLC, Robert Goldstein.
                    (Attachments: # 1 Proposed Order) (Tuffaha, Joedat) (Entered: 02/05/2019)

02/06/2019   Ï 26   ORDER by Judge Fernando M. Olguin: Granting Application of Non−Resident Attorney Bernie E.
                    Hauder to Appear Pro Hac Vice on behalf of Defendant Robert Goldstein and DRG Strategic, LLC,
             Case designating
                  3:19-cv-01179-K       Document
                              Joe Tuffaha             41 25
                                          as local counsel Filed
                                                              . (iv)05/16/19    Page 5 of 6 PageID 203
                                                                     (Entered: 02/06/2019)

02/11/2019   Ï 27   TEXT ONLY ENTRY by Chambers of Judge Fernando M. Olguin. On the court's own motion, the
                    Motion to Dismiss 15 is taken off the 2/14/2019 calendar and placed under submission. No
                    appearances are required on 2/14/2019. An order with the court's ruling will issue.THERE IS NO
                    PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (vdr) TEXT ONLY ENTRY (Entered:
                    02/11/2019)

02/11/2019   Ï 28   MINUTE ORDER IN CHAMBERS RE: BRIEFING by Judge Fernando M. Olguin. *See order for
                    deadlines and requirements.* (vdr) (Entered: 02/11/2019)

02/14/2019   Ï 29   JOINT REPORT Rule 26(f) Discovery Plan ; estimated length of trial 5 days, filed by Plaintiff
                    Matthew Pliskin.. (Roberts, Nathan) (Entered: 02/14/2019)

02/18/2019   Ï 30   BRIEF filed by defendants DRG Strategic, LLC, Robert Goldstein. Brief re: Transfer to N.D. Tex.
                    regarding Minutes of In Chambers Order/Directive − no proceeding held 28 . (Chennakesavan,
                    Prashanth) (Entered: 02/18/2019)

02/18/2019   Ï 31   MEMORANDUM of Points and Authorities in Opposition to Transfer Re: Minutes of In Chambers
                    Order/Directive − no proceeding held 28 (Attachments: # 1 Declaration of Nathan B. Roberts, # 2
                    Proposed Order Regarding Transfer)(Roberts, Nathan) (Entered: 02/18/2019)

02/21/2019   Ï 32   STIPULATION to Continue Scheduling Conference from February 28, 2019 to March 21, 2019
                    filed by Plaintiff Matthew Pliskin. (Attachments: # 1 Proposed Order Continuing Scheduling
                    Conference)(Roberts, Nathan) (Entered: 02/21/2019)

02/22/2019   Ï 33   ORDER CONTINUING SCHEDULING CONFERENCE 32 by Judge Fernando M. Olguin. The
                    scheduling conference in this matter previously set for February 28, 2019 at 10:00 am shall be
                    continued to March 21, 2019 at 10:00 am. (iv) (Entered: 02/22/2019)

02/25/2019   Ï 34   BRIEF filed by Defendants DRG Strategic, LLC, Robert Goldstein. regarding Brief (non−motion
                    non−appeal) 30 . (Tuffaha, Joedat) (Entered: 02/25/2019)

02/25/2019   Ï 35   RESPONSE filed by Plaintiff Matthew Pliskinto Brief (non−motion non−appeal) 30 re Transfer of
                    Action to N.D. Tex. (Roberts, Nathan) (Entered: 02/25/2019)

03/14/2019   Ï 36   TEXT ONLY ENTRY by Chambers of Judge Fernando M. Olguin. On the court's own motion, the
                    Scheduling Conference is hereby continued for hearing to 4/18/2019 at 10:00 AM before Judge
                    Fernando M. Olguin. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY.
                    (vdr) TEXT ONLY ENTRY (Entered: 03/14/2019)

04/02/2019   Ï 37   TEXT ONLY ENTRY by Chambers of Judge Fernando M. Olguin. On the court's own motion, the
                    Scheduling Conference is hereby continued for hearing to 5/2/2019 at 10:00 AM before Judge
                    Fernando M. Olguin. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY.
                    (vdr) TEXT ONLY ENTRY (Entered: 04/02/2019)

04/25/2019   Ï 38   TEXT ONLY ENTRY by Chambers of Judge Fernando M. Olguin. On the court's own motion, the
                    Scheduling Conference is hereby continued for hearing to 5/16/2019 at 10:00 AM before Judge
                    Fernando M. Olguin. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY.
                    (vv) (Entered: 04/25/2019)

05/13/2019   Ï 39   TEXT ONLY ENTRY by Chambers of Judge Fernando M. Olguin. On the court's own motion, the
                    Scheduling Conference is hereby continued to 5/30/2019 at 10:00 AM before Judge Fernando M.
                    Olguin. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (vdr) TEXT
                    ONLY ENTRY (Entered: 05/13/2019)

05/15/2019   Ï 40   ORDER TRANSFERRING ACTION by Judge Fernando M. Olguin. The Clerk shall transfer this
                    case forthwith to the United States District Court for the Northern District of Texas. See 28 U.S.C.
Case 1404(a).
     3:19-cv-01179-K       Document
              Defendant's Motion       41 15
                                 to Dismiss Filed  05/16/19
                                               is denied without Page   6 ofCase
                                                                 prejudice.  6 PageID
                                                                                 transferred204
      electronically. (MD JS−6. Case Terminated.) (iv) (Entered: 05/15/2019)
